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15 LiveViewGPS, Inc.

16
                    IN THE UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
18

19    SOCIAL POSITIONING INPUT
      SYSTEMS, LLC,
20
                                               C.A. NO. 2:22-CV-09003
21
                         Plaintiff,            JURY TRIAL DEMANDED
22

23                 v.                          PATENT CASE
24
      LIVEVIEWGPS, INC.,
25
                         Defendant.
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1           LIVEVIEWGPS, INC.’S ANSWER, AFFIRMATIVE DEFENSES,
2
              AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

3           Defendant LiveViewGPS, Inc.’s (“LiveView” or “Defendant”) files this
4     Answer, Affirmative Defenses, and Counterclaims to Plaintiff Social Positioning
5     Input Systems, LLC’s (“Plaintiff” or “Social Positioning”) Complaint for Patent
6     Infringement (“Complaint”). LiveView denies the allegations and
7     characterizations in Plaintiff’s Complaint unless expressly admitted in the
8     following paragraphs.1
9                                           PARTIES
10          1.     LiveView is without knowledge or information sufficient to form a
11    belief as to the truth of the allegations in Paragraph 1 of the Complaint and, on that
12    basis, denies all such allegations.
13          2.     LiveView admits the allegations in Paragraph 2 of the Complaint.
14                              JURISDICTION AND VENUE
15          3.     LiveView admits that the Complaint purports to set forth an action for
16    infringement under the Patent Laws of the United States, 35 U.S.C. § 271, et seq.
17          4.     LiveView admits that this Court has subject matter jurisdiction over
18    this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
19          5.     LiveView does not contest that the Court has personal jurisdiction
20    over it in this case. LiveView admits that it conducts business in the State of
21    California. LiveView denies it has committed or is committing acts of
22    infringement within this District or elsewhere and, on that basis, denies the
23    remaining allegations of Paragraph 5 of the Complaint.
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26   For avoidance of doubt, LiveView denies liability for all allegations of patent
   infringement included or implied in the introductory paragraph or in any headings
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   of the Complaint.
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1           6.     LiveView admits that it has used, imported, offered for sale, or sold
2     instrumentalities in this District. LiveView denies it has committed or is
3     committing acts of infringement within this District or elsewhere and, on that
4     basis, denies the remaining allegations of Paragraph 6 of the Complaint.
5           7.     LiveView does not contest that venue is proper in this case, but denies
6     that venue is convenient.
7                                       BACKGROUND
8           8.     LiveView admits that a purported copy of U.S. Patent No. 9,261,365
9     (the “’365 Patent”) is attached to the Complaint as Exhibit A and that the face of
10    that patent indicates that it is entitled “Device, System and Method for Remotely
11    Entering, Storing and Sharing Addresses for a Positional Information Device.”
12    LiveView is without knowledge or information sufficient to form a belief as to the
13    truth of the remaining allegations in Paragraph 8 of the Complaint and, on that
14    basis, denies all such allegations.
15          9.     LiveView is without knowledge or information sufficient to form a
16    belief as to the truth of the allegations in Paragraph 9 of the Complaint and, on that
17    basis, denies all such allegations.
18          10.    LiveView is without knowledge or information sufficient to form a
19    belief as to the truth of the allegations in Paragraph 10 of the Complaint and, on
20    that basis, denies all such allegations.
21                                          COUNT I
22        (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO.
23                                           9,261,365
24          11.    LiveView incorporates paragraphs 1 through 10 herein by reference.
25          12.    LiveView admits that the Complaint purports to set forth an action for
26    infringement under the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.
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1            13.       LiveView denies it has committed or is committing acts of
2     infringement, on that basis, denies the allegations of Paragraph 13 of the
3     Complaint.
4            14.       LiveView denies the allegations in Paragraph 14 of the Complaint.
5            15.       LiveView denies the allegations in Paragraph 15 of the Complaint.
6            16.       LiveView denies the allegations in Paragraph 16 of the Complaint.
7            17.       LiveView denies the allegations in Paragraph 17 of the Complaint.
8            18.       LiveView denies the allegations in Paragraph 18 of the Complaint.
9            19.       LiveView denies the allegations in Paragraph 19 of the Complaint.
10           20.       LiveView admits that a claim chart purportedly comparing the
11    Exemplary ’365 Patent Claims to the Exemplary Defendant Products is attached to
12    the Complaint as Exhibit B. LiveView denies the remaining allegations in Paragraph
13    20 of the Complaint.
14           21.       LiveView denies the allegations in Paragraph 21 of the Complaint.
15           22.       LiveView denies the allegations in Paragraph 22 of the Complaint.
16           23.       LiveView is without knowledge or information sufficient to form a
17    belief as to the truth of the allegations in Paragraph 23 of the Complaint and, on that
18    basis, denies all such allegations
19                           [PLAINTIFF’S] PRAYER FOR RELIEF
20           LiveView denies the Plaintiff is entitled to any relief from LiveView and
21    denies all the allegations contained in Paragraphs (a)-(d) (including any subparts)
22    of Plaintiff’s Prayer for Relief.
23                        [PLAINTIFF’S] DEMAND FOR JURY TRIAL
24           LiveView is not required to provide a response to Plaintiff’s demand for a
25    trial by jury.
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1                                AFFIRMATIVE DEFENSES
2           LiveView’s Affirmative Defenses are listed below. LiveView reserves the
3     right to amend its answer to add additional Affirmative Defenses consistent with
4     the facts discovered in this case.
5                             FIRST AFFIRMATIVE DEFENSE
6           LiveView has not infringed and does not infringe, under any theory of
7     infringement (including directly (whether individually or jointly) or indirectly
8     (whether contributorily or by inducement)), any valid, enforceable claim of the
9     ’365 Patent.
10                          SECOND AFFIRMATIVE DEFENSE
11          Each asserted claim of the ’365 Patent is invalid for failure to comply with
12    one or more of the requirements of the United States Code, Title 35, including
13    without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations,
14    and laws pertaining thereto.
15                           THIRD AFFIRMATIVE DEFENSE
16          To the extent that Plaintiff and any predecessors in interest to the ’365 Patent
17    failed to properly mark any of their relevant products or materials as required by
18    35 U.S.C. § 287, or otherwise give proper notice that LiveView’s actions allegedly
19    infringe the ’365 Patent, LiveView is not liable to Plaintiff for the acts alleged to
20    have been performed before LiveView received actual notice that it was allegedly
21    infringing the ’365 Patent.
22                          FOURTH AFFIRMATIVE DEFENSE
23          To the extent that Plaintiff asserts that LiveView indirectly infringes, either
24    by contributory infringement or inducement of infringement, LiveView is not
25    liable to Plaintiff for the acts alleged to have been performed before LiveView
26    knew that its actions would cause indirect infringement.
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1                            FIFTH AFFIRMATIVE DEFENSE
2           The claims of the ’365 Patent are not entitled to a scope sufficient to
3     encompass any system employed or process practiced by LiveView.
4                            SIXTH AFFIRMATIVE DEFENSE
5           To the extent Plaintiff contends that it alleges a claim for indirect
6     infringement (whether by inducement or contributorily), Plaintiff has failed to state
7     a claim upon which relief can be granted.
8                          SEVENTH AFFIRMATIVE DEFENSE
9           Plaintiff’s Complaint fails to state a claim upon which relief can be granted
10    because the ’365 Patent does not claim patent eligible subject matter under 35
11    U.S.C. § 101.
12                          EIGHTH AFFIRMATIVE DEFENSE
13          Plaintiff’s Complaint fails to state a claim upon which relief can be granted
14    because, among other things, Plaintiff has not stated a plausible allegation that any
15    system employed by LiveView practices: “sending a request from a requesting
16    positional information device to a server for at least one address stored in at least
17    one sending positional information device, the request including a first identifier of
18    the requesting positional information device”; and “receiving at the requesting
19    positional information device, from the server, a retrieved at least one address to
20    the requesting positional information device wherein the server determines a
21    second identifier for identifying the at least one sending positional information
22    device based on the received first identifier and retrieves the requested at least one
23    address stored in the identified at least one sending positional information device”;
24    as required by Claim 1 of the ’365 Patent.
25                           NINTH AFFIRMATIVE DEFENSE
26          Plaintiff is estopped, based on statements, representations, and admissions
27    made during prosecution of the patent application resulting in the asserted patent,
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1     from asserting any interpretation of any valid, enforceable claims of the ’365
2     Patent that would be broad enough to cover any accused product alleged to infringe
3     the asserted patent, either literally or by application of the doctrine of equivalents.
4                            TENTH AFFIRMATIVE DEFENSE
5           Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C.
6     §§ 286 and 287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering
7     costs associated with its action.
8                         ELEVENTH AFFIRMATIVE DEFENSE
9           Plaintiff is precluded from recovering its reasonable attorney’s fees, costs,
10    and or increased damages under 35 U.S.C. §§ 284 or 285.
11                         TWELFTH AFFIRMATIVE DEFENSE
12          Should LiveView be found to infringe any valid, enforceable claim of the
13    ’365 Patent, such infringement was not willful.
14                           LIVEVIEW’S COUNTERCLAIMS
15          For its counterclaims against Plaintiff Social Positioning Input Systems,
16    LLC (“Social Positioning”), Counterclaim Plaintiff LiveViewGPS, Inc.
17    (“LiveView”), alleges as follows:
18                                          PARTIES
19          1.      Counterclaim Plaintiff LiveView is a corporation organized and
20    existing under the laws of California that maintains a place of business at 29021
21    Avenue Sherman, Ste. 103, Valencia, CA 91355.
22          2.     Upon information and belief based solely on Paragraph 1 of the
23    Complaint as pled by Plaintiff, Counterclaim Defendant Social Positioning Input
24    Systems, LLC is a limited liability company organized and existing under the laws
25    of Wyoming that maintains its principal place of business at 1 East Broward
26    Boulevard, Suite 700, Ft. Lauderdale, FL 33301.
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1                                       JURISDICTION
2           3.     LiveView incorporates by reference Paragraphs 1–2 above.
3           4.     These counterclaims arise under the patent laws of the United States,
4     Title 35, United States Code. The jurisdiction of this Court is proper under at least
5     35 U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
6           5.     Social Positioning has consented to the personal jurisdiction of this
7     Court at least by commencing its action for patent infringement in this District, as
8     set forth in its Complaint.
9           6.     Based solely on Social Positioning’s filing of this action, venue is
10    proper for purposes of these counterclaims in this District pursuant at least 28 U.S.C.
11    §§ 1391 and 1400.
12                                          COUNT I
13       DECLARATION REGARDING NON-INFRINGEMENT OF THE ’365
14                                           PATENT
15          7.     LiveView incorporates by reference Paragraphs 1–6 above.
16          8.     Based on Social Positioning’s filing of this action and at least
17    LiveView’s first affirmative defense, an actual controversy has arisen and now exists
18    between the parties as to whether LiveView infringes U.S. Patent No. 9,261,365 (the
19    “’365 Patent”).
20          9.     LiveView does not infringe at least Claim 1 of the ’365 Patent because,
21    inter alia, Plaintiff has not stated a plausible allegation that any system employed by
22    LiveView practices: “sending a request from a requesting positional information
23    device to a server for at least one address stored in at least one sending positional
24    information device, the request including a first identifier of the requesting positional
25    information device”; and “receiving at the requesting positional information device,
26    from the server, a retrieved at least one address to the requesting positional
27    information device wherein the server determines a second identifier for identifying
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1     the at least one sending positional information device based on the received first
2     identifier and retrieves the requested at least one address stored in the identified at
3     least one sending positional information device.”
4           10.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et
5     seq., LiveView requests a declaration by the Court that LiveView has not infringed
6     and does not infringe any claim of the ’365 Patent under any theory (including
7     directly (whether individually or jointly) or indirectly (whether contributorily or by
8     inducement).
9                                          COUNT II
10                     DECLARATION REGARDING INVALIDITY
11          11.    LiveView incorporates by reference Paragraphs 1–10 above.
12          12.    Based on Social Positioning’s filing of this action and at least
13    LiveView’s Second Affirmative Defense, an actual controversy has arisen and now
14    exists between the parties as to the validity of the claims of the ’365 Patent.
15          13.    On information and belief, the claims of the ’365 Patent are invalid for
16    failure to comply with one or more of the requirements of United States Code, Title
17    35, and the rules, regulations, and laws pertaining thereto.
18          14.    For example, the ’365 Patent is invalid for failure to comply with 35
19    U.S.C. § 101. The ’365 Patent claims nothing more than an abstract idea, and it fails
20    to claim an inventive concept.
21          15.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et
22    seq., LiveView requests a declaration by the Court that the claims of the ’365 Patent
23    are invalid for failure to comply with one or more of the requirements of United
24    States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and
25    112, and the rules, regulations, and laws pertaining thereto.
26          16.    LiveView does not have an adequate remedy at law.
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1                                 PRAYER FOR RELIEF
2          WHEREFORE, LiveView asks this Court to enter judgment in LiveView’s
3    favor and against Social Positioning by granting the following relief:
4          a)      a declaration that the ’365 Patent is invalid;
5          b)      a declaration that LiveView does not infringe, under any theory, any
6    valid claim of the ’365 Patent that may be enforceable;
7          c)      a declaration that Social Positioning take nothing by its Complaint;
8          d)      judgment against Social Positioning and in favor of LiveView;
9          e)      dismissal of the Complaint with prejudice;
10         f)      a finding that this case is an exceptional case under 35 U.S.C. § 285
11   and an award to LiveView of its costs and attorneys’ fees incurred in this action;
12   and
13         g)      further relief as the Court may deem just and proper.
14                                    JURY DEMAND
15         LiveView hereby demands trial by jury on all issues.
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18   Dated: January 4, 2023                   By: /s/ Rodeen Talebi
19                                            Rodeen Talebi

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